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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ALFRED CHESTNUT, )
et al., )
)

)

Plaintiffs, )

)

Vv. ) 20-CV-02342-LKG

)

DONALD KINCAID, )
et al., )
)

Defendants. )

)

{PROPOSED) ORDER

Having considered Defendants Donald Kincaid, John Barrick, and Bryn Joyce’s
(“Defendants”) Consent Motion For Leave To Disclose Confidential Records Cited In Their
a
Motion, it is, on this day of January 2022, hereby:

ORDERED that Defendants’ Motion is GRANTED.

   

A. David Coppé¢rthite
United States

 
